                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 1 of 24



                                                                1 Marquis Aurbach Coffing
                                                                  Terry A. Coffing, Esq.
                                                                2 Nevada Bar No. 4949
                                                                  Chad F. Clement, Esq.
                                                                3 Nevada Bar No. 12192
                                                                  Jared M. Moser, Esq.
                                                                4 Nevada Bar No. 13003
                                                                  10001 Park Run Drive
                                                                5 Las Vegas, Nevada 89145
                                                                  Telephone: (702) 382-0711
                                                                6 Facsimile: (702) 382-5816
                                                                  tcoffing@maclaw.com
                                                                7 cclement@maclaw.com
                                                                  jmoser@maclaw.com
                                                                8 Attorneys for Richland Holdings, Inc.
                                                                  d/b/a AcctCorp of Southern Nevada, RC Willey
                                                                9 aka RC Willey Financial Services, and Randall
                                                                  Corporation d/b/a Bowen Law Offices
                                                               10

                                                               11                           UNITED STATES DISTRICT COURT
MARQUIS AURBACH COFFING




                                                               12                                  DISTRICT OF NEVADA
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 JOHN CARTER and CHRISTINE CARTER, Case No.: 2:16-cv-02967-RFB-VCF
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                               Plaintiffs,
                                                               15         vs.                                            DEFENDANTS RICHLAND
                                                                                                                     HOLDINGS, INC. D/B/A ACCTCORP
                                                               16 RICHLAND HOLDINGS, INC. d/b/a                      OF SOUTHERN NEVADA’S AND RC
                                                                  ACCTCORP OF SOUTHERN NEVADA, a                         WILLEY AKA RC WILLEY
                                                               17 Nevada corporation; RC WILLEY aka RC              FINANCIAL SERVICES’ MOTION FOR
                                                                  WILLEY FINANCIAL SERVICES; and                            ATTORNEY FEES
                                                               18 RANDALL CORPORATION d/b/a BOWEN
                                                                  LAW OFFICES,
                                                               19
                                                                                            Defendants.
                                                               20

                                                               21         Defendants Richland Holdings, Inc., d/b/a AcctCorp of Southern Nevada
                                                               22 (“AcctCorp”) and RC Willey aka RC Willey Financial Services (“RCW,” and together with

                                                               23 AcctCorp, “Movants”), by and through their attorneys of record, the law firm of Marquis

                                                               24 Aurbach Coffing (“MAC”), and pursuant to 28 U.S.C. § 1927, 15 U.S.C. § 1692k(a)(3),

                                                               25 Nevada Revised Statutes (“NRS”) § 18.010, the underlying contract at issue in this case, and

                                                               26 this Court’s inherent power, hereby file their Motion for Attorney Fees (“Motion”). This

                                                               27 Motion is based upon the following Points and Authorities, all pleadings and papers on file
                                                                                                              Page 1 of 24
                                                                                                                             MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                        Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 2 of 24



                                                                1 herein, and any oral argument allowed by this Court at the time of hearing on this matter.

                                                                2                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                                3 I.        INTRODUCTION
                                                                4           This action was not intended to right a wrong. Rather, it was brought in bad faith,
                                                                5 for no other reason than to harass Movants. Non-party Safeguard Credit LLC d/b/a Credit

                                                                6 Restoration of Nevada (“CRN”) and counsel for Plaintiffs John Carter and Christine Carter

                                                                7 (“the Carters”) solicited the Carters to get authorization for CRN and the Carters’ counsel to

                                                                8 bring frivolous claims intended to put AcctCorp’s “mom and pop” operation out of business.

                                                                9 The Carters’ minimal involvement is evident in their failure to participate in good faith.
                                                               10           Moreover, this Court’s determination that the Carters’ claims were either completely
                                                               11 unsupported by law or fact, or were time-barred from the beginning, must guide this Court’s
MARQUIS AURBACH COFFING




                                                               12 exercise of discretion toward granting attorney fees to Movants. On top of that, AcctCorp’s
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 direct competitor is involved in solicitations of prospective clients like the Carters for cases
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 like, and including, this one and has explicitly stated his plan to “attack” AcctCorp. There is

                                                               15 no question, this case was brought in bad faith and for no reason but to harass.1

                                                               16           Thus, Movants are entitled, under 28 U.S.C. § 1927, 15 U.S.C. § 1692k(a)(3), NRS §
                                                               17 18.010, the underlying contract in this case, and this Court’s inherent power, to an award of

                                                               18 attorney fees, against the Carters and their counsel, jointly and severally, incurred in

                                                               19 defending this vexatious and frivolous case, which for the entire case totals $139,269.00

                                                               20 ($102,887.00 for AcctCorp, $36,382.00 for RCW).

                                                               21 II.       STATEMENT OF FACTS RELEVANT TO THIS MOTION
                                                               22                        THE CARTERS’ UNDERLYING DEBT AND DEFAULT
                                                               23           1.     John Carter opened a credit account with RCW on May 5, 2004, and he
                                                               24
                                                                    1
                                                               25     Notably, Judge Mahan already determined that the Carters’ counsel has brought several similarly
                                                                    frivolous cases in bad faith and for purposes of harassment, awarding attorney fees and costs to
                                                               26   Movants in the case styled Geraldo et al. v. Richland Holdings, Inc. et al., No. 2:17-cv-15-JCM-
                                                                    PAL, ECF Nos. 40, 49-50, following the Ninth Circuit’s affirmance of dismissal in that case. See
                                                               27   Geraldo et al. v. Richland Holdings, Inc. et al., 716 F. App’x 728 (9th Cir. 2018).

                                                                                                             Page 2 of 24
                                                                                                                             MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                        Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 3 of 24



                                                                1 added Christine Carter to the same credit account on July 26, 2004. The account was

                                                                2 governed by the Revolving Security Agreement (“Agreement”), which allowed RCW to

                                                                3 change the terms after giving the Carters the “minimum notice required by law” and allowed

                                                                4 the changes to apply to any existing account balance. The Carters also completed a Credit

                                                                5 Application and Security Agreement to update the existing credit account on May 27, 2009.2

                                                                6              2.         On August 1, 2010, RCW changed the terms of the Agreement, including a
                                                                7 change that the state in which the Carters reside, i.e., Nevada, would govern the

                                                                8 interpretation or enforcement of the Agreement in the event that RCW or its assignee,

                                                                9 AcctCorp, initiated any legal action associated with the Agreement against the Carters.
                                                               10 RCW also included a term requiring the Carters to “pay all of [RCW’s] costs of collection,

                                                               11 including, but not limited to, a collection agency fee assessed by a collection agency and/or
MARQUIS AURBACH COFFING




                                                               12 reasonable attorney fees, with or without suit, together with all unpaid interest and court
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 costs.” The Carters were sent the revised terms of the Agreement at least 45 days before the
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 terms became effective, and they continued to charge the credit account until May 10, 2011.3

                                                               15              3.         The Carters became delinquent on the credit account on March 11, 2014,
                                                               16 with an account balance, then, of $8,286.54. A contractual collection fee of $4,143.27 (50%

                                                               17 of the account balance) was added to the owed balance, bringing the total owed to

                                                               18 $12,429.81. RCW then assigned the account to AcctCorp.4

                                                               19               ACCTCORP’S ACTION TO RECOVER PLAINTIFF’S OUTSTANDING BALANCE
                                                               20              4.         AcctCorp filed an action (“State Action”) to collect the delinquent balance
                                                               21 from the Carters in state court on April 11, 2014. The Carters were served under Nevada

                                                               22 Rule of Civil Procedure (“NRCP”) 4 on April 23, 2014, when a process server served Jane

                                                               23 Doe, a female of suitable age and discretion that resided at the residence but refused to give

                                                               24
                                                                    2
                                                               25       ECF No. 70 at 1:28-2:5.
                                                                    3
                                                               26       Id. at 2:6-14 (emphasis added).
                                                                    4
                                                               27       Id. at 2:15-18.

                                                                                                                  Page 3 of 24
                                                                                                                                 MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                        Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 4 of 24



                                                                1 her full name. Defendant Randall Corporation d/b/a Bowen Law Offices (“Bowen”) acted

                                                                2 as AcctCorp’s counsel of record in the State Action. To assist in recovering the amount

                                                                3 owed, RCW submitted an Affidavit of Custodian of Records to authenticate the documents

                                                                4 on which AcctCorp relied.5

                                                                5              5.          After the Carters failed to participate in the State Action, AcctCorp obtained
                                                                6 default judgment and was awarded the $12,429.81 account balance plus $800.96 in interest,

                                                                7 $592.50 in costs, and $750.00 in attorney fees. Notice of Entry of Default was filed on

                                                                8 August 12, 2014, and mailed to the Carters’ residence.6

                                                                9              6.          The Carters filed an action (“Bankruptcy Action”) for Chapter 7 bankruptcy
                                                               10 on September 19, 2014, in which they failed to ever identify AcctCorp as a creditor and

                                                               11 listed only RCW as a creditor holding unsecured nonpriority claims. The Carters declared
MARQUIS AURBACH COFFING




                                                               12 under penalty of perjury that the list of creditors was complete and correct during the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Bankruptcy Action. They also “assume[d] all responsibility for errors and omissions.”7
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14              7.          The Carters never amended their schedules to include AcctCorp, but their
                                                               15 counsel in the Bankruptcy Action filed a Notice of the Pending Bankruptcy in the State

                                                               16 Action on October 20, 2014. AcctCorp faxed a Notice of Release of Garnishment to the

                                                               17 Carters’ respective employers and the City Constable the next day. An order discharging

                                                               18 debtors was entered on December 24, 2014 (“Discharge Order”), effectively discharging the

                                                               19 Carters’ obligation to pay any amounts owed under the Default Judgment.8

                                                               20              CRN AND PLAINTIFF’S COUNSEL FORGE A PLAN TO “ATTACK” ACCTCORP
                                                               21              8.          CRN is a company that is, at least in part, in the credit repair business, with
                                                               22

                                                               23
                                                                    5
                                                               24       Id. at 2:19-25.
                                                                    6
                                                               25       Id. at 2:26-3:2.
                                                                    7
                                                               26       Id. at 3:3-3:8.
                                                                    8
                                                               27       Id. at 3:9-3:15.

                                                                                                                    Page 4 of 24
                                                                                                                                   MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                         Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 5 of 24



                                                                1 Harry Jacobs (“Jacobs”) acting as the Chief Executive Officer during all relevant times.9

                                                                2              9.      In July 2016, CRN was purchased by the MLL Trust, the trustee of which is
                                                                3 Michael Feeney (“Feeney”).10

                                                                4              10.     Feeney is also the principal of three debt collection companies in Las Vegas,
                                                                5 Nevada, who are AcctCorp’s competitors: (1) Nevada Credico, Inc.; (2) Sentry Recovery &

                                                                6 Collections, Inc.; and (3) Allied Collection Services, Inc.11

                                                                7              11.     Feeney is also “a principal/member [of] … [CRN].”12
                                                                8              12.     Vernon Nelson is counsel of record for the Carters in this case, and he was
                                                                9 introduced to Jacobs by Feeney, after Feeney acquired CRN in Summer 2016.13
                                                               10              13.     By that time, Feeney and Jacobs had concocted a litigation scheme and
                                                               11 business idea to scour the courts’ public records to identify and locate consumers to solicit
MARQUIS AURBACH COFFING




                                                               12 for legal cases involving the Fair Debt Collection Practices Act (“FDCPA”).14
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13              14.     This was a new scheme and business concept, perfectly timed with Feeney’s
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 acquisition of CRN; CRN had not been doing it previously.15

                                                               15              15.     The plan was to financially profit off of the litigation scheme and allow
                                                               16 Feeney to indirectly attack competitors, like AcctCorp, by burying them in litigation,

                                                               17 attorney fees, and costs.16

                                                               18

                                                               19   9
                                                                     Depo. of Harry Jacobs Tr., Dec. 7, 2017 (“Jacobs Depo. Tr.”), true, accurate, and authentic copies
                                                               20   of the relevant excerpts from which are attached hereto as Exhibit A, at 11:23-12:1, 13:11-13.
                                                                    10
                                                               21        Id. at 19:1-7, 19:16-23.
                                                                    11
                                                               22     Decl. of Jared M. Moser, Esq. (“Moser Decl.”), at ¶ 3, a copy of which is attached hereto as
                                                                    Exhibit B; NV Sect. of State Printouts, a true, accurate and authentic copy of which is attached
                                                               23   hereto as Exhibit C.
                                                                    12
                                                               24        Decl. of Michael Feeney (“Feeney Decl.”), attached hereto as Exhibit D.
                                                                    13
                                                               25        See generally Docket, herein.
                                                                    14
                                                               26        See Ex. A, Jacobs Depo. Tr., at 63-65.
                                                                    15
                                                               27        See id.

                                                                                                                  Page 5 of 24
                                                                                                                                 MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                         Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 6 of 24



                                                                1              16.        In the summer and early fall of 2016, the Carters’ counsel, along with Jacobs
                                                                2 and Feeney, were in discussions regarding their scheme to solicit prospective FDCPA

                                                                3 plaintiffs to file lawsuits on those individuals’ respective behalves.17

                                                                4              17.        Specifically, Jacobs and Nelson discussed CRN’s “concept of identifying
                                                                5 debtors: consumers that owed debt, that had been sued, as potential clients for CRN and also

                                                                6 at the same time trying to find out if Mr. Nelson had any interest in [CRN] sending … a

                                                                7 large volume of – of potential FDCPA cases to him.”18

                                                                8              18.        The two agreed to further the litigation scheme and, from September 2016
                                                                9 forward, CRN started soliciting individuals to sue AcctCorp via a telephone call or email, or
                                                               10 on Jacobs’ radio show, including ten plaintiffs suing AcctCorp in seven different cases.19

                                                               11              19.        On or about September 30, 2016, Feeney sent a text message to former
MARQUIS AURBACH COFFING




                                                               12 AcctCorp employee, Tom Wilbur, indicating Feeney and his businesses planned to “attack”
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 AcctCorp.20
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14              20.        In December 2016, Nelson filed the first of many actions against AcctCorp.21
                                                               15              21.        Wilbur later became a whistleblower, addressing these connections or
                                                               16 relationships and reporting the anti-competitive or unethical conduct of CRN, Feeney, and

                                                               17   16
                                                                       See Engagement Letter, a true, accurate, and authentic copy of which is attached hereto as
                                                               18   Exhibit E, at 2 (indicating CRN receives a portion of what the plaintiff recovers); see also Ex. A,
                                                                    Jacobs Depo. Tr., at 103:17-19 (indicating CRN receives referral fees from other attorneys); CRN
                                                               19   Emails, Bates No. CRN-CARTER000001-2, & 5-6, true, accurate, and authentic copies of which are
                                                                    attached hereto as Exhibit F, with corresponding Affid. of Custodian of Records; PACER search
                                                               20   results, a true, accurate, and authentic copy of which is attached as Exhibit G (showing the cases
                                                                    that Nelson has filed since Jan. 1, 2016, against various debt collection companies and creditors,
                                                               21   none of which include Feeney’s entities); Ex. B, Moser Decl., ¶¶ 4-6 (authenticating exhibits).
                                                                    17
                                                               22        Ex. A, Jacobs Depo. Tr., at 69:12-71:16, 95:1-96:11.
                                                                    18
                                                               23        Id. at 70:9-15
                                                                    19
                                                               24        Id. at 88:11-88:25.
                                                                    20
                                                               25     See Sept. 30, 2016 Text Message from Feeney to Wilbur, a true, accurate, and authentic copy of
                                                                    which is attached hereto as Exhibit H (“Feeney Text”); see also Decl. of Amanda Patterson
                                                               26   (“Patterson Decl.”), ¶¶ 5-9, attached as Exhibit I (authenticating Feeney Text and Wilbur letter).
                                                                    21
                                                               27        See Ex. G, PACER search results; See also Ex. B, Moser Decl., ¶ 6 (authenticating same).

                                                                                                                  Page 6 of 24
                                                                                                                                 MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                         Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 7 of 24



                                                                1 the Carters’ counsel to the Office of the Attorney General, the FTC Office of Policy and

                                                                2 Coordination, the Nevada Department of Business and Industry’s Financial Institutions

                                                                3 Division, the FBI, the IRS, the Governor’s Office, the Nevada State Bar, and others.22

                                                                4        THE CARTERS ARE SOLICITED TO, AND EVENTUALLY DO, COMMENCE THIS LAWSUIT
                                                                5             22.     In November 2016, a CRN employee directly solicited the Carters via email
                                                                6 to file this lawsuit, arguably engaging in the unauthorized practice of law, and advising that

                                                                7 CRN would get the Carters $1,000 in statutory damages “in as little as 60-90 days.”23

                                                                8             23.     After the Carters voluntarily executed Durable Powers of Attorney and an
                                                                9 Acknowledgement of Engagement, this lawsuit was filed December 22, 2016, but as late as
                                                               10 May 2017, their counsel did not even have the Carters’ contact information; the lawsuit was

                                                               11 being driven by CRN.24
MARQUIS AURBACH COFFING




                                                               12             24.     Although CRN and the Carters’ counsel were operating under the guise of
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 repairing the Carters’ credit, as late as September 2017, CRN had never performed credit
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 repair services for him; CRN never even obtained a copy of their credit reports.25

                                                               15    THE CARTERS AND THEIR COUNSEL MAINTAIN THIS LAWSUIT KNOWING IT IS BASELESS
                                                               16             25.     Within months of filing this case, the Carters’ counsel had filed a total of
                                                               17 seven nearly identical cases, asserting the same claims for relief, based on almost exactly the

                                                               18 same facts, against most or all of the same defendants.26

                                                               19
                                                                    22
                                                                         See Undated Wilbur letter with Certified Mailing slips, dated Nov. 4, Nov. 10, and Nov. 11, 2016,
                                                               20 true, accurate, and authentic copies of which are attached hereto as Exhibit J; see also Ex. I,
                                                                    Patterson Decl., at ¶¶ 7-9 (authenticating letter and mailing slips).
                                                               21
                                                                    23
                                                                         See Ex. F, CRN Emails, Bates No. CRN-CARTER000005-6, 13-14.
                                                               22
                                                                    24
                                                                         See id. at CRN-CARTER000031-32.
                                                               23
                                                                    25
                                                                         See id. at CARTER-CRN-000123 [sic] (advising that almost a year after the lawsuit began, CRN
                                                               24 would need access to the Carters’ credit reports).
                                                                    26
                                                               25     See Cox v. Richland Holdings, Inc. et al., No. 2:16-cv-2914-APG-VCF (filed Dec. 15, 2016); see
                                                                    also Carter v. Richland Holdings, Inc. et al., No. 2:16-cv-2967-RFB-VCF (filed Jan. 17, 2017);
                                                               26   Geraldo et al. v. Richland Holdings, Inc. et al., No. 2:17-cv-15-JCM-PAL (filed Jan. 3, 2017);
                                                                    LaForge v. Richland Holdings, Inc. et al., No. 2:17-cv-782-APG-VCF (filed Mar. 3, 2017); Cutts v.
                                                               27   Richland Holdings, Inc. et al., No. 2:17-cv-1525-JCM-PAL (filed May 31, 2017).

                                                                                                                  Page 7 of 24
                                                                                                                                   MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                         Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 8 of 24



                                                                1             26.      Throughout this and other cases, the Carters’ counsel has been admonished as
                                                                2 to the frivolity of the claims asserted, yet has refused to relent and, instead, continues to

                                                                3 multiply proceedings by pressing the same issues. In short, Plaintiff and counsel have

                                                                4 brought this action with no support and for no other reason than to “attack” AcctCorp and its

                                                                5 affiliates.27 Examples include, among others, the following:

                                                                6                      a.        In Geraldo, Judge Mahan dismissed the plaintiffs’ entire case in July
                                                                7             2017, on claim preclusion grounds, and the Ninth Circuit affirmed, on March 29,
                                                                8             2018, on judicial estoppel grounds.28 After the Ninth Circuit affirmed, Judge Mahan
                                                                9             granted motions for more than $37,000 in attorney fees and costs against the
                                                               10             plaintiffs and in favor of Movants, and for nearly $70,000 against the plaintiffs’ and
                                                               11             the Carters’ counsel before ultimately disqualifying counsel.29
MARQUIS AURBACH COFFING




                                                               12                      b.        In Cox, the Carters’ counsel tried, in September 2017, to disqualify
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13             MAC, necessitating several months of discovery on disqualification-related issues.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14             Ultimately, however, no one from Plaintiff’s counsel’s office bothered to appear for
                                                               15             the hearing on their motion to disqualify, resulting in a denial of the motion and
                                                               16             sanctions against counsel totaling $4,500.30
                                                               17                      c.        Also in Cox, when, in January 2018, the Court gave the plaintiff an
                                                               18             opportunity, and clear direction, to amend and correct several deficiencies in the
                                                               19             complaint, counsel filed an Amended Complaint that far exceeded the scope of
                                                               20             leave. The Court ultimately struck the amended pleading.31
                                                               21                      d.        In this case, the Court recognized deficiencies in the Carters’
                                                               22
                                                                    27
                                                               23        Ex. H, Feeney Text.
                                                                    28
                                                               24        See Geraldo, No. 2:17-cv-15-JCM-PAL, at ECF Nos. 23 & 41.
                                                                    29
                                                               25        See id., ECF Nos. 49, 50, 97, 98, & 110.
                                                                    30
                                                               26        See Cox, No. 2:16-cv-2914-APG-VCF, ECF Nos. 39, 88, 90, 92, 109, & 111.
                                                                    31
                                                               27        See id., ECF No. 115.

                                                                                                                    Page 8 of 24
                                                                                                                                   MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                         Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 9 of 24



                                                                1             pleadings, back in August 2017, granting Movants’ motion to dismiss. The Carters
                                                                2             and counsel, though, never relented in pursuing their baseless claims, which would
                                                                3             ultimately be disposed of on summary judgment motions when the Carters showed
                                                                4             they had absolutely no evidence to support their baseless allegations.32
                                                                5 III.        LEGAL STANDARDS
                                                                6             Several bases support an award of attorney fees, and many of those bases overlap.
                                                                7 Specifically, Federal Rule of Civil Procedure (“FRCP”) 11 and 15 U.S.C. § 1692k(a)(3), as

                                                                8 well as Nevada Rules of Civil Procedure (“NRCP”) 11 and NRS chapter 18, all allow the

                                                                9 Court to award attorney fees based on the frivolity and harassing nature of the Carters’
                                                               10 claims, all brought in bad faith.          The Carters’ counsel has also “unreasonably and
                                                               11 vexatiously” multiplied proceedings by continuing to maintain arguments that have been
MARQUIS AURBACH COFFING




                                                               12 consistently rejected, opposing summary judgment when no evidence existed to support the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 baseless claims in this action, which warrants a sanction against counsel under 28 U.S.C. §
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 1927. Finally, to the extent the Court finds the conduct of the Carters and counsel improper,

                                                               15 all relevant considerations in mind, yet does not believe that one of the aforementioned

                                                               16 authorities supports a fee award to Movants, the Court may still award fees based on its

                                                               17 inherent powers.

                                                               18             This Court has previously recognized the propriety of sanctions against even a pro se
                                                               19 litigant, where a “Plaintiff … compiled a long history of noncompliance with court orders

                                                               20 and has continuously asserted frivolous grounds” such that “the plaintiff has succeeded only

                                                               21 in having most of his claims and causes of action dismissed against him with prejudice.” In

                                                               22 re “Santa Barbara Like It Is Today” Copyright Infringement Litig., 94 F.R.D. 105, 106 (D.

                                                               23 Nev. 1982). The court in Santa Barbara explicitly warned that “any attempt to relitigate

                                                               24 alleged infringements that were time-barred would result in the imposition of sanctions

                                                               25 against him.” Id. at 107. This case is on all fours with Santa Barbara, except that the

                                                               26
                                                                    32
                                                               27        See ECF Nos. 38, 39, 70, & 93.

                                                                                                               Page 9 of 24
                                                                                                                              MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 10 of 24



                                                                1 Carters, here, were represented by counsel, which does not afford the same “liberal

                                                                2 standards available to pro se litigants,” making sanctions even more warranted. Id. at 106.

                                                                3
                                                                            A.      THE COURT MAY AWARD ATTORNEY FEES UNDER THE
                                                                4                   FDCPA, 15 U.S.C. § 1692K(A)(3).

                                                                5           Under the FDCPA, “[o]n a finding by the court that an action … was brought in bad
                                                                6 faith and for the purpose of harassment, the court may award to the defendant attorney’s fees

                                                                7 reasonable in relation to the work expended and costs.” The Ninth Circuit reviews “the

                                                                8 district court’s finding on the bad faith issue under the clearly erroneous standard,” and

                                                                9 granting of a fee award “for an abuse of discretion.” Swanson v. S. Ore. Credit Serv., Inc.,
                                                               10 869 F.2d 1222, 1229 (9th Cir. 1988) (citations omitted). These are both very high and

                                                               11 deferential standards that this Court easily satisfies in granting the instant motion.
MARQUIS AURBACH COFFING




                                                               12           The Ninth Circuit has affirmed awards under § 1692k(a)(3) where “Plaintiff’s only
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 supporting witness was wholly without credibility” and “[t]he record of the present case as
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 well as Plaintiff’s pattern of filing apparently frivolous cases asserting debt collection

                                                               15 violations establish that the present case was brought in bad faith and for the purpose of

                                                               16 harassment as defined in 15 U.S.C. § 1692k(a)(3).” Hyde v. Midland Credit Mgmt., Inc.,

                                                               17 567 F.3d 1137, 1139 (9th Cir. 2009) (accepting award and overturning only to the extent

                                                               18 entered against counsel because § 1692k(a)(3) contemplates fees against the party only).

                                                               19 Indeed, Hyde made clear that “15 U.S.C. § 1692k(a)(3) does not authorize the award of

                                                               20 attorney’s fees and costs against a plaintiff’s attorneys.” Id. at 1141-42.33

                                                               21
                                                                            B.      THE COURT MAY AWARD ATTORNEY FEES TO MOVANTS
                                                               22                   UNDER 28 U.S.C. § 1927.

                                                               23           Pursuant to 28 U.S.C. § 1927, “Any attorney … admitted to conduct cases in any
                                                               24   33
                                                                      In Geraldo, Judge Mahan explained that “the sheer number of procedural and substantive defects
                                                               25   with plaintiffs’ case, considered together with the holdings of other courts in similar cases brought
                                                                    by the same counsel here and based on similar facts,” but he awarded fees against the plaintiffs,
                                                               26   under § 1692k, not counsel. See Geraldo, No. 2:17-cv-15-JCM-PAL, ECF No. 40, at 7:17-19. The
                                                                    conduct has worsened since July 2017, resulting in a fee award against and the disqualification of
                                                               27   counsel as well. See id., ECF Nos. 97 (attorney fees against Mr. Nelson), 110 (disqualifying same).

                                                                                                              Page 10 of 24
                                                                                                                                MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                    Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 11 of 24



                                                                1 court of the United States … who so multiplies the proceedings in any case unreasonably

                                                                2 and vexatiously may be required by the court to satisfy personally the excess costs,

                                                                3 expenses, and attorneys’ fees reasonably incurred because of such conduct.”

                                                                4          The Ninth Circuit has looked favorably upon Section 1927 penalties: “Imposing a
                                                                5 monetary penalty on counsel is an appropriate sanction considerably less severe than

                                                                6 holding counsel in contempt, referring the incident to the client or bar association, or

                                                                7 dismissing the case … It is appropriate that sanctions such as these are directed at the

                                                                8 lawyers responsible, rather than the litigants.” Miranda v. S. Pac. Transp. Co., 710 F.2d

                                                                9 516, 520-21 (9th Cir. 1983) (internal citations omitted).
                                                               10          The Ninth Circuit has also directly recognized that “28 U.S.C. § 1927 [authorizes the
                                                               11 Court] to hold attorneys personally liable for excessive costs for unreasonably multiplying
MARQUIS AURBACH COFFING




                                                               12 proceedings.” Gadda v. Ashcroft, 377 F.3d 934, 943 n.4 (9th Cir. 2004). In fact, the Ninth
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Circuit has held:
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14
                                                                           Sanctions [under §] 1927 must be supported by a finding of subjective bad
                                                               15          faith. Bad faith is present when an attorney knowingly or recklessly raises
                                                                           a frivolous argument or argues a meritorious claim for the purpose of
                                                               16          harassing an opponent. Tactics undertaken with the intent to increase
                                                                           expenses or delay … support a finding of bad faith. Even if an attorney’s
                                                               17          arguments are meritorious, his conduct may be sanctionable if in bad faith.

                                                               18 New Alaska Dev. Corp. v. Guetschow, 869 F.2d 1298, 1306 (9th Cir. 1989) (citations and

                                                               19 internal quotation marks omitted) (emphasis added).

                                                               20          C.     THE COURT MAY ALSO AWARD FEES UNDER NRS CHAPTER 18.
                                                               21          Under NRS § 18.010,
                                                               22          2. In addition to the cases where an allowance is authorized by specific
                                                                           statute, the court may [award] attorney’s fees to a prevailing party: …
                                                               23
                                                                                   (b) Without regard to the recovery … , when the court finds that the
                                                               24          claim … was brought or maintained without reasonable ground or to harass
                                                                           … The court shall liberally construe … this paragraph in favor of awarding
                                                               25          attorney’s fees in all appropriate situations. It is the intent of the Legislature
                                                                           that the court award attorney’s fees pursuant to this paragraph and impose
                                                               26          sanctions pursuant to Rule 11 of the [NRCP] in all appropriate situations to
                                                                           punish for and deter frivolous or vexatious claims and defenses [which]
                                                               27          claims and defenses overburden limited judicial resources, hinder the timely
                                                                                                            Page 11 of 24
                                                                                                                             MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                    Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 12 of 24



                                                                1          resolution of meritorious claims and increase the costs of engaging in
                                                                           business and providing … services to the public.
                                                                2

                                                                3 NRS § 18.010 (2)(b).

                                                                4          This lawsuit was, without question, brought or maintained without reasonable
                                                                5 ground or to harass,” entitling Movants to fees under Nevada state law.

                                                                6
                                                                           D.      THE COURT SHOULD AWARD FEES UNDER THE UNDERLYING
                                                                7                  CONTRACT BETWEEN THE PARTIES.

                                                                8          The Nevada Supreme Court has held that “[p]arties are free to provide for attorney
                                                                9 fees by express contractual provisions.       The objective in interpreting an attorney fees
                                                               10 provision, as with all contracts, ‘is to discern the intent of the contracting parties.’

                                                               11 Traditional rules of contract interpretation are employed to accomplish that result.” Davis v.
MARQUIS AURBACH COFFING




                                                               12 Beling, 278 P.3d 501, 515 (Nev. 2012) (citations and alterations omitted). Consequently, the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Court’s “initial focus is on whether the language of the contract is clear and unambiguous; if
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 it is, the contract will be enforced as written.” Id. (citation omitted); see also Salameh v. 5th

                                                               15 Rock, LLC, 656 F. App’x 803, 804 (9th Cir. 2016) (citation omitted) (holding that a broad

                                                               16 attorney fee “provision permit[ting] fees in any legal action ‘arising out of this Contract,’ …

                                                               17 is broad enough to encompass tort claims based on the contract’s underlying transaction”).

                                                               18          Based on Nevada and Ninth Circuit authority, the broad attorney fee language in the
                                                               19 underlying, enforceable contract to which the Carters are bound requires them to pay

                                                               20 RCW’s, and its assignee’s (AcctCorp) attorney fees incurred in this action.

                                                               21
                                                                           E.      THIS COURT MAY AWARD ATTORNEY FEES UNDER ITS
                                                               22                  INHERENT POWER.

                                                               23          “Courts of justice are universally acknowledged to be vested, by their very creation,
                                                               24 with power to impose silence, respect, and decorum, in their presence, and submission to

                                                               25 their lawful mandates,” power “governed not by rule or statute but by the control necessarily

                                                               26 vested in courts to manage their own affairs so as to achieve the orderly and expeditious

                                                               27 disposition of cases.” Chambers v. NASCO, Inc., 501 U.S. 32, 43, 111 S.Ct. 2123, 2132
                                                                                                            Page 12 of 24
                                                                                                                            MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                    Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 13 of 24



                                                                1 (1991) (citations and internal quotation marks omitted); see also Estate of Blue v. Cnty. of

                                                                2 Los Angeles, 120 F.3d 982, 985 (9th Cir. 1997) (holding discretionary Rule 11 sanctions are

                                                                3 appropriate for baseless or time-barred claims brought for an improper purpose or without

                                                                4 reasonable inquiry as to a factual foundation) (hereinafter “Blue”).

                                                                5          In Chambers, the U. S. Supreme Court affirmed a district court decision just like the
                                                                6 one sought by Movants in this case, concluding the district court “properly invoked its

                                                                7 inherent power in assessing as a sanction for a party’s bad-faith conduct attorney’s fees and

                                                                8 related expenses paid by the party’s opponent … “ Id. at 35, 111 S.Ct. at 2128.

                                                                9          In so affirming, the Chambers Court recognized:
                                                               10           [N]othing in the other sanctioning mechanisms or prior cases interpreting
                                                                           them … warrants a conclusion that a federal court may not, as a matter of
                                                               11          law, resort to its inherent power to impose attorney’s fees as a sanction for
MARQUIS AURBACH COFFING




                                                                           bad-faith conduct. This is plainly the case where the conduct at issue is not
                                                               12          covered by one of the other sanctioning provisions.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Id. at 50, 111 S. Ct. at 2135. Indeed, when bad-faith conduct occurs in the course of
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 litigation the sanctions for which fall “under the Rules, the court ordinarily should rely on

                                                               15 the Rules … But if in the informed discretion of the court, neither the statute nor the Rules

                                                               16 are up to the task, the court may safely rely on its inherent power.” Id., 111 S. Ct. at 2136.

                                                               17 IV.      LEGAL ARGUMENT
                                                               18          This case was all part of a bigger picture, of a scheme to make a small “mom and
                                                               19 pop” collection business close its doors for good. The claims brought in this case had no

                                                               20 merit from the start. Even if they had merit at some point in time, which Movants posit they

                                                               21 did not, when the claims were brought in this lawsuit, they had been long-barred by the

                                                               22 statute of limitations, which this Court has already recognized, while others were utterly

                                                               23 lacking in factual support. In short, this case has been frivolous and vexatious since its

                                                               24 inception, and was brought and maintained in bad faith. Movants should be awarded their

                                                               25 attorney fees – $139,269.00 ($102,887.00 for AcctCorp, $36,382.00 for RCW) – incurred in

                                                               26 having to defend this senselessness.

                                                               27 / / /
                                                                                                            Page 13 of 24
                                                                                                                            MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 14 of 24



                                                                1           A.      THE CARTERS’ ENTIRE CASE IS A PRODUCT OF THE
                                                                                    NEFARIOUS PLANS OF CRN, ITS PRINCIPALS, AND THE
                                                                2                   CARTERS’ COUNSEL.
                                                                3           The facts easily demonstrate this case is a product of the malevolence of CRN, its
                                                                4 principals, and the Carters’ counsel. After Feeney acquired CRN, he developed a plan with

                                                                5 the Carters’ counsel, to use CRN as a shell to solicit numerous plaintiffs to file lawsuits

                                                                6 against AcctCorp, Feeney’s competitor, with the purpose to “attack” it by inflicting financial

                                                                7 harm and fraying AcctCorp’s relations with its clients.34 While CRN tries to masquerade

                                                                8 this litigation scheme as a credit repair service, it does not pass scrutiny.

                                                                9           To start, there is no need to solicit someone to file a lawsuit before offering credit
                                                               10 repair services. The two are not mutually inclusive. Moreover, CRN never performed any

                                                               11 credit repair services for the Carters. More condemning, however, is the fact that the
MARQUIS AURBACH COFFING




                                                               12 Carters’ counsel has not filed any cases against Feeney’s collection companies since he
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 agreed to participate in this litigation scheme, and CRN continues to solicit plaintiffs on
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 Jacobs’ radio show. Simply stated, CRN is entitled to its own opinion, but not its own facts.

                                                               15 The facts, here, prove beyond a preponderance of the evidence that this case is a product of

                                                               16 the nefarious plans of CRN, its principals, and the Carters’ counsel.

                                                               17           This case was not filed to make the Carters whole or to remedy past injury; the lack
                                                               18 of investigation and involvement alone shows that a victory in litigation was not the goal.

                                                               19 Indeed, most of the Carters’ claims were disposed of on statute of limitations grounds, and

                                                               20 the remaining amended claims were summarily adjudicated in favor of AcctCorp when the

                                                               21 evidence obtained during extended discovery shows the Carters’ allegations were untruthful.

                                                               22 In short, the case was brought to harass Movants, with the hope of being one among many

                                                               23 similar lawsuits that would eventually drive AcctCorp out of business.

                                                               24
                                                                    34
                                                               25     The FDCPA claims were made against AcctCorp’s creditor clients (e.g., RCW), who are not even
                                                                    subject to the FDCPA, substantiating this position and demonstrating the frivolity of the lawsuits
                                                               26   against them. Randolph v. IMBS, Inc., 368 F.3d 726, 729 (7th Cir. 2004); see also 15 U.S.C. §§
                                                                    1692b et seq. (governing actions of “debt collectors”); 15 U.S.C. § 1692a(4) (defining “creditor” as
                                                               27   “any person who offers or extends credit creating a debt or to whom a debt is owed ... ”).

                                                                                                              Page 14 of 24
                                                                                                                               MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 15 of 24



                                                                1             This case and the underlying ruse were unlawful from the start. See JPMorgan
                                                                2 Chase Bank, N.A. v. KB Home, 740 F. Supp. 2d 1192 (D. Nev. 2010) (“A champertous

                                                                3 agreement is one in which a person without interest in another’s litigation undertakes to

                                                                4 carry on the litigation at his own expense, in whole or in part, in consideration of receiving,

                                                                5 in the event of success, a part of the proceeds of the litigation. In Nevada, champerty is

                                                                6 unlawful.”) (citing Schwartz v. Eliades, 113 Nev. 586, 939 P.2d 1034, 1036 (1997); Lum v.

                                                                7 Stinnett, 87 Nev. 402, 488 P.2d 347, 350 (1971)); cf. Del Webb Cmtys., Inc. v. Partington,

                                                                8 652 F.3d 1145, 1153-54 (9th Cir. 2011) (recognizing champerty and maintenance as a

                                                                9 defense). Nevada criminalizes the conduct of any person “who shall … encourage another
                                                               10 to bring, any false suit at law or in equity, in any court of this State, with intent thereby to

                                                               11 distress or harass a defendant therein.” NRS § 199.320. As described above, and evidenced
MARQUIS AURBACH COFFING




                                                               12 by the exhibits hereto, this conduct is exactly what gave rise to this case.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13             B.     THE CARTERS’ CLAIMS WERE BASELESS ON THEIR MERITS.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                    1.         The Carters’ Claims Against RCW Were Utterly Baseless.
                                                               15
                                                                                                a.    The Carters’ FDCPA Claim Against                      RCW        was
                                                               16                                     Completely Frivolous From the Start.

                                                               17             The Carters asserted a claim under the FDCPA against all defendants, but by the
                                                               18 Carters’ own admission, this frivolous claim did not and could not apply to RCW, a creditor,

                                                               19 not a debt collector.35 See 15 U.S.C. §1692a(4) (defining “creditor” as any person who

                                                               20 offers or extends credit creating a debt or to whom a debt is owed … ”); see also Randolph

                                                               21 v. IMBS, Inc., 368 F.3d 726, 729 (7th Cir. 2004) (“A distinction between creditors and debt

                                                               22 collectors is fundamental to the FDCPA, which does not regulate creditors’ activities at

                                                               23 all.”); id. (“[A]n agent or employee of the creditor is not covered by the [FDCPA] in the first

                                                               24 place.”); Fed. Trade Comm’n v. Check Investors, Inc., 502 F.3d 159, 171 (3d Cir. 2007)

                                                               25 (“Creditors – as opposed to debt collectors – generally are not subject to the FDCPA.”); 15

                                                               26
                                                                    35
                                                               27        See ECF Nos. 1 & 40.

                                                                                                              Page 15 of 24
                                                                                                                              MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 16 of 24



                                                                1 U.S.C. §§ 1692b et seq. (governing “debt collectors”). Thus, the Carters’ FDCPA claim

                                                                2 against RCW, to which the FDCPA does not apply, was unfounded.36

                                                                3                                 b.   Plaintiff’s Abuse of Process Claim Against RCW Was Also
                                                                                                       Baseless Because RCW Never Used Process.
                                                                4

                                                                5              Next, the Carters asserted an abuse of process claim based on the allegation that
                                                                6 “Defendants commenced and/or prosecuted legal proceedings against Plaintiffs … ”37 After

                                                                7 ten months of conducting discovery on, and litigating, the claim, the Court dismissed

                                                                8 Plaintiff’s abuse of process cause of action with prejudice, which had no legitimate basis for

                                                                9 assertion.38
                                                               10              Indeed, RCW never participated in the State Court Action, as this Court
                                                               11 recognized.39 In fact, even the conduct alleged to have been taken by RCW’s assignee –
MARQUIS AURBACH COFFING




                                                               12 e.g., AcctCorp filing a complaint and proceeding to litigate a case – did not support an abuse
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 of process cause of action, which the Court also recognized.40 Therefore, this claim, too,
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 was utterly baseless from its start, and the Carters have never even hinted to actual facts that

                                                               15 would support an abuse of process claim.

                                                               16
                                                                                                  c.   The Carters Fabricated Claims for Civil Conspiracy and
                                                               17                                      DTP for No Other Reason Than to Harass.

                                                               18              Similarly, the Carters asserted claims for civil conspiracy and DTP without
                                                               19 legitimate support in fact or law. This Court first noted the Carters’ failure to identify under

                                                               20 which of 100 subsections of NRS Chapter 598 Plaintiff’s DTP claim was brought, allowing

                                                               21
                                                                    36
                                                               22      The FDCPA still allows RCW to recover fees thereunder. See, e.g., Forto v. Capital One Bank,
                                                                    Nat’l Assoc., No. 14-cv-05611-JD (MEJ), 2017 WL 4168529, at *6 (N. D. Cal. Sept. 20, 2017)
                                                               23   (recognizing a creditor may recover attorney fees under 15 U.S.C. § 1692k).
                                                                    37
                                                               24        ECF No. 1, at 5, ¶ 36.
                                                                    38
                                                               25        ECF No. 38.
                                                                    39
                                                               26        See id.; see also ECF No. 39, at 27-29.
                                                                    40
                                                               27        See id.

                                                                                                                   Page 16 of 24
                                                                                                                                   MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 17 of 24



                                                                1 the Carters leave to amend not only the DTP claim but the deficient civil conspiracy claim

                                                                2 as well.41 The Carters and counsel tried again, and failed again.42

                                                                3              Ultimately, the Carters had no evidence to support their allegations, and they failed
                                                                4 to conduct any discovery when given an opportunity to support their last surviving claims.

                                                                5 See Hyde, 567 F.3d at 1139 (issuing an attorney fees sanction where the plaintiff at least had

                                                                6 a witness who was determined to lack credibility, unlike here, where Plaintiff had no

                                                                7 evidence supporting his baseless claims). Left to wonder why the Carters would offer no

                                                                8 evidentiary support, one can only surmise that none exists, nor has there ever been evidence

                                                                9 to support the claims.
                                                               10                      2.      The Causes of Action Against AcctCorp Were Similarly Baseless.
                                                               11
MARQUIS AURBACH COFFING




                                                                                               a.      The Carters Knowingly Asserted Baseless FDCPA Claims
                                                               12                                      Against AcctCorp.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13              The Carters’ FDCPA claims accrued as early as April 23, 2014, when they were
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 served with the Summons and Complaint in the State Court Action.43 Therefore, even

                                                               15 applying the discovery rule to the FDCPA’s one-year statute of limitations, the deadline to

                                                               16 file their FDCPA claims expired in April 2015. See Tourgeman v. Collins Fin. Servs., Inc.,

                                                               17 755 F.3d 1109, 1118 n.5 (9th Cir. 2014) (“The district court appropriately concluded that the

                                                               18 first time that Tourgeman reasonably could have become aware of the allegedly false and

                                                               19 misleading representations in Defendants’ letters was when his father was served with

                                                               20 summons and complaint in the state court lawsuit … ”) (alteration and internal quotation

                                                               21 marks omitted)). Plaintiff filed this action in December 2016, almost two years later.44

                                                               22
                                                                    41
                                                                         See ECF No. 39, at 40.
                                                               23
                                                                    42
                                                                         See generally ECF Nos. 40 (amending complaint), 70 (recognizing that the Carters neither alleged
                                                               24 nor produced evidence from which to even infer that AcctCorp or Bowen entered into a consumer
                                                                    transaction with the Carters and that “Plaintiffs have failed to offer any evidence as to Defendants’
                                                               25 concerted action taken with intention to accomplish an unlawful objective”).
                                                                    43
                                                               26        See ECF No. 49-11 (affidavits of service); see also ECF No. 70, at 2 (referencing date of service).
                                                                    44
                                                               27        See ECF No. 1.

                                                                                                                  Page 17 of 24
                                                                                                                                   MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 18 of 24



                                                                1              What is worse, the Carters relied on a knowingly false representation to this Court to
                                                                2 maintain their baseless claims, alleging and leading this Court to believe that “within the

                                                                3 past year [before commencement of this action], Defendants, who are debt collectors under

                                                                4 the FDCPA, committed several violations of the FDCPA.”45 In the end, the truth would

                                                                5 prevail, and the evidence obtained from third parties demonstrated not only (1) that

                                                                6 AcctCorp had not violated the FDPCA but (2) that the alleged hardship suffered by the

                                                                7 Carters in being denied for credit was not a result of AcctCorp’s conduct, but of the Carters’

                                                                8 own irresponsibility.46

                                                                9              In addition to the foregoing, the Court has already determined that, after the Carters
                                                               10 maintained a claim under 15 U.S.C. § 1692g for years, AcctCorp provided evidence to show

                                                               11 it provided a legally satisfactory dunning letter, and the Carters neglected to oppose
MARQUIS AURBACH COFFING




                                                               12 summary judgment on that claim in the first round of summary judgment briefing.47 In
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 short, they knew the claim was baseless but brought it anyway simply to “attack” Movants.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14              Based on the facts and evidence that have been revealed, it is clear that the Carters’
                                                               15 FDCPA claims lacked merit since “day 1.” Therefore, Movants should be awarded their

                                                               16 attorney fees incurred in having to defend this completely meritless lawsuit.

                                                               17
                                                                                                  b.   The Carters Knowingly Asserted                  and     Maintained
                                                               18                                      Frivolous State Law Claims.

                                                               19              The Carters asserted three causes of action under state law, all of which were either
                                                               20 summarily adjudicated in favor of Movants or were dismissed outright – abuse of process

                                                               21 (dismissed with prejudice), as well as DTP and civil conspiracy (both summary judgment).48

                                                               22              The Carters’ claim for DTP against AcctCorp was brought, and maintained for more
                                                               23
                                                                    45
                                                               24        ECF No. 1, at 4, ¶ 29.
                                                                    46
                                                               25        See generally ECF No. 93; see also ECF Nos. 82-13, 82-14, 82-15, & 82-16.
                                                                    47
                                                               26        See ECF No. 70, at 12-13.
                                                                    48
                                                               27        See ECF Nos. 38, 39, 70, & 93.

                                                                                                               Page 18 of 24
                                                                                                                                MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 19 of 24



                                                                1 than a year, with full knowledge they never had a consumer transaction with AcctCorp. See,

                                                                2 generally, NRS Chapter 598 (requiring a transaction for the sale or lease of goods or

                                                                3 services); see also Blue, 120 F.3d at 985 (“Frivolous filings are ‘those that are both baseless

                                                                4 and made without a reasonable and competent inquiry.”) (citation omitted).

                                                                5              Finally, the Carters alleged civil conspiracy with no indication that the defendants in
                                                                6 this or any other of the Carters’ counsel’s lawsuits communicated amongst themselves about

                                                                7 violating the law.49 The Carters’ problem with this cause of action, like all the others, was a

                                                                8 complete lack of evidence to support the baseless claim.50

                                                                9
                                                                               C.      THE CARTERS’ COUNSEL UNREASONABLY AND VEXATIOUSLY
                                                               10                      MULTIPLIED PROCEEDINGS.

                                                               11              The senseless, continuing, and frivolous filings from the Carters’ counsel must be
MARQUIS AURBACH COFFING




                                                               12 curtailed. Not only does § 1927 allow sanctioning for improper and vexatious multiplication
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 of proceedings, “Rule 11 sanctions are specifically designed to deter baseless filings and
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 frivolous litigation, to unclog the choked dockets of the federal courts, and to punish

                                                               15 improper conduct by lawyers and litigants.” Schutts v. Bentley Nev. Corp., 966 F. Supp.

                                                               16 1549, 1566 (D. Nev. 1997) (citations omitted). That goal was set because “when lawyers

                                                               17 shower the court with frivolous papers, everyone suffers.” Id.

                                                               18              Here, the Carters’ counsel is now into his seventh lawsuit against AcctCorp and its
                                                               19 clients, each just as frivolous as the one before it.             Notwithstanding multiple judges’
                                                               20 admonitions and direction, affording the Carters’ counsel every opportunity to meet his

                                                               21 burdens, counsel refuses to “fight clean.” Instead, the frivolous filings, baseless oppositions,

                                                               22 and disregard of Court orders continue.51

                                                               23 / / /

                                                               24   49
                                                                         See ECF No. 39, at 40.
                                                               25   50
                                                                         See generally id.
                                                               26   51
                                                                      See LaForge, No. 2:17-cv-00782-APG-VCF, ECF 63, at 2 (“I strongly disfavor such tactics. And
                                                               27   this is not the first time I have recently addressed plaintiffs’ counsel’s violation of Local Rules.”).

                                                                                                               Page 19 of 24
                                                                                                                                 MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 20 of 24



                                                                1             Certainly, if “clients must be held accountable for the acts and omissions of their
                                                                2 attorneys,” at some point, the need to hold counsel accountable for his own conduct must

                                                                3 prevail. Sec. Exch. Comm’n v. Platforms Wireless Int’l Corp., 617 F.3d 1072, 1101 (9th Cir.

                                                                4 2010) (citation and alteration omitted); see also Oliva v. Sullivan, 958 F.2d 272, 275 (9th

                                                                5 Cir. 1992) (“[A]ttorneys should be made accountable for their wrongs. Loose rules induce

                                                                6 loose practices which, in turn, cause delays and increase the costs of justice.”) (Sneed, J.,

                                                                7 dissenting).

                                                                8             D.      THE FEES SOUGHT ARE REASONABLE UNDER LR 54-14.
                                                                9             The following addresses the factors set forth in LR 54-14.
                                                               10                     1.      Itemization and Description of the Work Performed
                                                               11             Attorney fees and costs incurred by Movants are reflected in monthly statements that
MARQUIS AURBACH COFFING




                                                               12 are prepared by MAC and sent to the clients. From January 5, 2017, to present, almost three
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 years of litigation, MAC spent approximately 580.4 hours litigating this case (425.10 hours
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 as to AcctCorp; 155.30 as to RCW). The billing statements are attached as Exhibit K. In

                                                               15 his Declaration, see Ex. B hereto, Mr. Moser sets forth the requirements under LR 54-14(c).

                                                               16                     2.      Itemization of Costs
                                                               17             With respect to costs, Movants respectfully direct the Court’s attention to their
                                                               18 respective Bills of Costs, both filed and served contemporaneously with this Motion.

                                                               19                     3.      Summary of Work in Conformity with LR 54-16
                                                               20                             a.      Results Obtained
                                                               21             As demonstrated by the Court’s Orders throughout this case, Movants obtained
                                                               22 dismissal with prejudice and summary judgment on all of the Carters’ claims.52 A review of

                                                               23 the Court’s docket reveals that all work performed by counsel for Movants was directly

                                                               24 related to the furthering of the litigation or in response to the Carters’ pleadings.

                                                               25 / / /

                                                               26
                                                                    52
                                                               27        ECF Nos. 38, 39, 70, & 93.

                                                                                                              Page 20 of 24
                                                                                                                              MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 21 of 24



                                                                1                             b.      Time and Labor Required
                                                                2             Attached as Exhibit K are MAC’s billing statements regarding the work performed
                                                                3 in this litigation from January 5, 2017, and forward. The billing statements establish that the

                                                                4 legal services rendered were reasonable and necessary. So, too, does the Declaration of Mr.

                                                                5 Moser, attached as Exhibit B.

                                                                6                             c.      Novelty and Difficulty of the Questions Involved
                                                                7             The FDCPA is very complex in its nuances, as are the claims thereunder and the
                                                                8 various bases on which they may rest, as well as the defenses against such claims. In

                                                                9 addition, the Carters asserted vague state law causes of action, all of which required
                                                               10 consideration of the interplay between state and federal law and the possible application of

                                                               11 different statutes of limitations. Naturally, this case was fact intensive, requiring particular
MARQUIS AURBACH COFFING




                                                               12 attention to detail.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13                             d.      The Requisite Skill to Perform the Legal Services
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14             Mr. Clement and Mr. Moser have litigated a number of FDCPA cases, which require
                                                               15 a specific skill set, an understanding of the FDCPA itself, and an understanding of the

                                                               16 applicable defenses thereto. In all of counsels’ submissions to this Court on behalf of

                                                               17 Movants, Mr. Clement and Mr. Moser used the requisite legal research and writing skills to

                                                               18 properly perform the legal services for which MAC was retained. The instant motion

                                                               19 accurately describes some of the proceedings in this case that warrant a fee award to the

                                                               20 prevailing parties – AcctCorp and RCW. The Declaration of Mr. Moser provides this court

                                                               21 with sworn testimony from an attorney licensed in this jurisdiction in further detail.53

                                                               22
                                                                                              e.      The Preclusion of Other Employment Due to Acceptance
                                                               23                                     of this Case

                                                               24             The litigation conduct exhibited by the Carters and their counsel in this case
                                                               25 demanded a considerable amount of work by the undersigned. Because of the unique nature

                                                               26
                                                                    53
                                                               27        See generally Ex. B, Moser Decl.

                                                                                                              Page 21 of 24
                                                                                                                              MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                     Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 22 of 24



                                                                1 of this case, and the factual and procedural issues created by the Carters and their counsel,

                                                                2 this case demanded a large part of time from Movants’ counsel, particularly in light of the

                                                                3 extended discovery period and second round of summary judgment briefing. The time

                                                                4 Movants’ counsel spent in defending this case precluded them from performing work for

                                                                5 other clients whom they could have charged higher hourly rates.

                                                                6                            f.     The Customary Fee
                                                                7              The hourly rates of Mr. Clement during this litigation were $250-305/hour, and Mr.
                                                                8 Moser’s hourly rates during this litigation were $235-245/hour, respectively. The hourly

                                                                9 rates are actually low compared to the hourly rates charged to other clients. The hourly rates
                                                               10 for other clients are often higher. Mssrs. Clement’s and Moser’s hourly rates are fair and

                                                               11 reasonable for professional services from litigation attorneys at MAC, and in the legal
MARQUIS AURBACH COFFING




                                                               12 community, who have the level of experience and expertise that Movants’ counsel hold in
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 FDCPA defense cases.54
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                            g.     Experience, Reputation, and Ability of the Attorneys
                                                               15              Movants’ counsel – Mssrs. Clement and Moser – have litigated or are currently
                                                               16 litigating a number of FDCPA defense cases before the United States District Court for the

                                                               17 District of Nevada and have prevailed by dispositive motions on all seven active cases

                                                               18 against the Carters’ counsel.        Their ability to competently handle such cases can be
                                                               19 evaluated by viewing the filings in this case docket and before other judges in this District.55

                                                               20
                                                                                             h.     Nature and Length of the Professional Relationship with
                                                               21                                   the Client

                                                               22              MAC has had a relationship with Movants, both of which MAC is representing in
                                                               23 multiple, other on-going cases, since this and those other cases began in December 2016.56

                                                               24
                                                                    54
                                                               25        See generally id.
                                                                    55
                                                               26        See generally id.
                                                                    56
                                                               27        See generally id.

                                                                                                             Page 22 of 24
                                                                                                                             MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                    Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 23 of 24



                                                                1                         i.     Similar Awards
                                                                2          Fee awards are not uncommon in these types of cases, and the legal authority cited
                                                                3 above demonstrates that numerous courts in this District and others have awarded fees on

                                                                4 any or all of the grounds cited in this Motion.

                                                                5                         j.     Any Other Information The Court May Request
                                                                6          MAC is happy to address this factor if the Court does request additional information.
                                                                7 V.       CONCLUSION
                                                                8          For the foregoing reasons, AcctCorp and RCW respectfully request that this Court
                                                                9 enter an Order, pursuant to 28 U.S.C. § 1927, 15 U.S.C. § 1692k(a)(3), NRS § 18.010,
                                                               10 and/or the Court’s inherent power, awarding them with the attorney fees incurred in

                                                               11 defending this frivolous and harassing lawsuit – in the amount of $139,269.00 ($102,887.00
MARQUIS AURBACH COFFING




                                                               12 for AcctCorp, $36,382.00 for RCW).
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13          Dated this 15th day of October, 2019.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                                               MARQUIS AURBACH COFFING
                                                               15
                                                                                                                By       /s/ Chad F. Clement
                                                               16                                                    Terry A. Coffing, Esq.
                                                                                                                     Nevada Bar No. 4949
                                                               17                                                    Chad F. Clement, Esq.
                                                                                                                     Nevada Bar No. 12192
                                                               18                                                    Jared M. Moser, Esq.
                                                                                                                     Nevada Bar No. 13003
                                                               19                                                    10001 Park Run Drive
                                                                                                                     Las Vegas, Nevada 89145
                                                               20                                                    Attorneys for for Richland Holdings, Inc.
                                                                                                                     d/b/a AcctCorp of Southern Nevada, RC
                                                               21                                                    Willey a/k/a RC Willey Financial Services,
                                                                                                                     and Randall Corporation d/b/a Bowen Law
                                                               22                                                    Offices

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27
                                                                                                           Page 23 of 24
                                                                                                                           MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
                                                                    Case 2:16-cv-02967-RFB-VCF Document 97 Filed 10/15/19 Page 24 of 24



                                                                1                                CERTIFICATE OF SERVICE
                                                                2          I hereby certify that I electronically filed the foregoing DEFENDANT RICHLAND
                                                                3 HOLDINGS, INC. D/B/A ACCTCORP OF SOUTHERN NEVADA’S AND RC

                                                                4 WILLEY AKA RC WILLEY FINANCIAL SERVICES’ MOTION FOR ATTORNEY

                                                                5 FEES with the Clerk of the Court for the United States District Court by using the court’s

                                                                6 CM/ECF system on the 15th day of October, 2019.

                                                                7                 I further certify that all participants in the case are registered CM/ECF users
                                                                8 and that service will be accomplished by the CM/ECF system.

                                                                9                               The Law Office of Vernon Nelson
                                                                                                   Vernon A. Nelson, Jr. Esq.
                                                               10                             6787 W. Tropicana Avenue, Suite 103
                                                                                                     Las Vegas, NV 89103
                                                               11                                      Tel: 702-476-2500
MARQUIS AURBACH COFFING




                                                                                                      Fax: 702-476-2788
                                                               12                                vnelson@nelsonlawfirmlv.com
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                                     Attorneys for Plaintiffs
                                                               13
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                 I further certify that some of the participants in the case are not registered
                                                               15 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,

                                                               16 or have dispatched it to a third party commercial carrier for delivery within 3 calendar days

                                                               17 to the following non-CM/ECF participants:

                                                               18

                                                               19
                                                                                                                 /s/Barb Frauenfeld
                                                               20                                               an employee of Marquis Aurbach Coffing
                                                               21

                                                               22

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27
                                                                                                          Page 24 of 24
                                                                                                                          MAC:14665-003 3859376_1.docx 10/15/2019 8:03 AM
